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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                           :                           CHAPTER 11
                                  :
 SCUNGIO BORST & ASSOCIATES, LLC, :                           BANKRUPTCY NO. 22-10609 (AMC)
                                  :
                 Debtor.          :
                                  :

                       ORDER SUSTAINING DEBTOR’S OBJECTION
                              TO PROOF OF CLAIM NO. 19
                  FILED BY ANI & JOE ABATEMENT & DEMOLITION LLC

          AND NOW, upon consideration of the Objection (the “Objection”) of Scungio Borst &

 Associates, LLC to Proof of Claim No. 19 (the “Proof of Claim”) filed by Ani & Joe Abatement

 & Demolition LLC (the “Claimant”), and after notice and hearing; it is hereby ORDERED, that:

          1.      The Objection is SUSTAINED.

          2.      The Proof of Claim is hereby reclassified as a general unsecured claim in the

 amount of $110,000, subject to a full reservation of rights in favor the Debtor, Debtor’s estate

 and/or the SBA Plan Trust1 including, but not limited to, the right to file (i) additional objections

 to the Proof of Claim for any reason and on any grounds, and (ii) objections to any claims or

 interests filed against or scheduled by the Debtor, but not objected to in this Objection, and a full

 reservation of rights of Claimant to oppose or challenge any additional objections to the Proof of

 Claim and/or any further objections to claims or interests filed against or scheduled by the Debtor.

          3.      Nothing in this Order is intended to nor shall impact the Claimant’s rights or




 1
   The trust to be established pursuant to the confirmed Modified Joint Plan of Liquidation (with technical
 modifications) proposed by Scungio Borst & Associates, LLC, Debtor-in-Possession, and the Official Committee of
 Unsecured Creditors of the Estate of Debtor [D.I. 326], as same may be amended, supplemented or otherwise modified
 from time to time pursuant to section 1127 of the Bankruptcy Code.
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 remedies, if any, against any and all non-debtor third parties, which are expressly preserved hereby.



                                               BY THE COURT:


 Dated: _____________                          _____________________________________
                                               ASHELY M. CHAN,
                                               UNITED STATES BANKRUPTCY JUDGE
